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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

GREENVILLE DIVISION
JERRY VANWAGNER PLAINTIFF
VS. CIVIL ACTION NO. 4:18CV150-GHD-RP
GLORIA PERRY, ANGELA BROWN, DEFENDANTS

C. FAULKS, ET AL

 

MOTION TO AMEND COMPLAINT
PURSUANT TO RULE 15(A) OF THE
FEDERAL RULES OF CIVIL PROCEDURE

 

COMES NOW, the Plaintiff, Jerry VanWagner, by and through himself, pro se, and moves
this Honorable Court for leave to amend his original complaint, to include the addition of the
Mississippi Department of Corrections (M.D.O.C) as Defendants, it is also being amended to
reflect that all Defendants are being sued in their individual and official capacities under color of
State law, and to amend the requested relief to include monetary damages in the following
amounts: Compensatory damages in the amount of sixteen-million dollars ($16,000,000);
Nominal damages to be determined by this Honorable Court; and Punitive damages to be
determined by this Honorable Court. In support of this motion, the Plaintiff submits the
following, to-wit:

I.
Plaintiff submits he contracted Hepatitis C after his incarceration. According to MDOC

Records Dept., Plaintiff was received by MDOC on/or about October 2010. MDOC Records

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Dept. also indicate Plaintiff was housed at East Mississippi Correctional Facility, a privately
owned facility, for approximately one (1) year. Plaintiff was then re-housed to the Kemper
County Regional Facility for approximately one (1) year.

It is clearly understood that MDOC Policy and Procedures forbid an offender who is
infected with Hepatitis C from being housed at a regional or privately owned facility. MDOC
Records Dept. plainly show that Plaintiff VanWagner did not have Hepatitis C when he was
received by MDOC in 2010. And it was not determined that Plaintiff VanWagner contracted
Hepatitis C until 2012 when he did in fact test positive for Hepatitis C.

After being received by MDOC, Plaintiff VanWagner has been solely reliant on the various
facilities he has been housed at for proper grooming standards. This is to include haircuts by
whatever inmates the MDOC Staff have assigned to the task. And as a matter of fact, it is
impossible for Plaintiff VanWagner to speculate as to how many haircuts he has received while
incarcerated. Haircuts which were given by inmates who are unlicensed barbers and who have
no supervision as far as personal hygiene and the proper cleaning of the hair clippers, combs,
brushes, and other materials used in giving inmates haircuts. Therefore it is quite likely that
Plaintiff VanWagner contracted Hepatitis C from dirty, unclean and unsanitary hair clippers.
Plaintiff Van Wagner has not engaged in any other activity which could put him in jeopardy of
contracting Hepatitis C.

In the case of Johnson v. Epps, 479 Fed. App. 583 (2012), the plaintiff in that case
contracted Hepatitis C in the same fashion, the result of unlicensed, untrained barbers who were
not practicing proper sanitary procedures, and there was no supervisor to ensure proper safety
procedures. Within the various Mississippi facilities which house inmates, it is inevitable that

when an inmate receives a haircut, the barbers result in cutting the neck or one of the inmate's
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ears while getting the haircut. Plaintiff VanWagner submits that almost every haircut he
received result in a nick to the neck or one of his ears. It appears that MDOC refuses to provide
the proper cleaning solutions and also fails to properly train the inmate barbers in the various
cleaning tactics. Therefore, inmate barbers currently cutting hair at MDOC facilities, as well as
the regional facilities and private facilities, are all spreading the Hepatitis disease throughout the
State of Mississippi.

I.

Inmates incarcerated within the Mississippi Department of Corrections are unable to obtain
their own medical services. In Bell v. Wolfish, 441 U.S. 520, 99 S.Ct. 1861 (1979), the United
States Supreme Court held that the Constitution requires prison authorities to provide the inmates
with reasonably adequate medical care. See also Langley v. Coughlin, 888 F.2d 252, 254 (2nd
Cir. 1989) (officials must provide reasonably necessary medical care which would be available
to the prisoner if not incarcerated).

Plaintiff Van Wagner has diligently attempted to obtain the medication which will cure his
Hepatitis C disease. Plaintiff VanWagner has submitted numerous medical requests complaining
about the Hepatitis C disease he has, and had requested the cure, all to no avail. MDOC medical
records reveal that Plaintiff VanWagner has elevated enzyme levels and a swollen liver, all of
which are a direct result of having Hepatitis C. The Defendants are indeed aware of the liver
being swollen, and that Plaintiff VanWagner is suffering extreme pain. However, the
Defendants refuse to schedule an appointment with a GI specialist and/or provide the Plaintiff
with the available cure for Hepatitis C. It appears the Defendants have chosen to gamble with
Plaintiff VanWagner's life. The United States Supreme Court dealt with a similar matter years

ago in Estelle vy. Gamble, 429 U.S. 97, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976) when the Court
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clearly established that deliberate indifference to medical needs, in violation of the Eighth
Amendment can be manifested by intentionally denying or delaying access to medical care or
intentionally interfering with the treatment once prescribed.

The longer the Defendants withhold the medication/cure for Hepatitis C from Plaintiff
VanWagner, certain organs continue to deteriorate and cause irreparable damage. Hepatitis C is
a serious disease, it is the number one cause of liver transplants in the United States, as well as
the number one cause of liver cancer in the United States. (Cowan Test, Dec. 23, 2015, Doc. 96
at 20:17-22) (Id. at 21:22-22-2) Abu-Jumal y. Weyzel, (2017 WL 34700).

Plaintiff VanWagner submits the Defendants know that Hepatitis C is a deadly disease and
that the Plaintiff will more likely than not die from the disease if the disease is not treated in a
timely manner. Damages such as cirrhosis of the liver are now very real possibilities. The
Defendants refusal to administer sound treatment when treatment and/or a cure is available, may
have already jeopardized Plaintiff VanWagner's health, as well as the quality and quantity of life
itself. (Cowan Test 20:17-22) Abu-Jamal v. Wetzel.

Plaintiff VanWagner submits that the Defendants could of sent Plaintiff to a
gastroenterologist years ago in order to help determine the specific stage of his Hepatitis C. This
could help determine if there is irreversible liver damage. The Defendants have failed to make
any decisions that would provide a full and certain diagnosis. Ultimately, it appears that MDOC
does not want to provide the cure for Plaintiff Van Wagner.

According to Chimiti v. Pennsylvania Department of Corrections, (slip copy)(2017 WL
3394605) chronic Hepatitis C can lead to chronic liver disease, liver fibrosis (scarring of liver
tissue) liver cancer, liver failure, diabetes, heart failure, kidney disease and even death. (Id. {|

19-31).
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Plaintiff VanWagner is suffering inflammatory disease, pain, fatigue, increased risk of
cancer, liver failure, heart attacks, and possible death because of the Defendants intentional
delays and denying Plaintiff VanWagner access to the medications needed to cure Hepatitis C.

It is not known to what degree of liver damage is present or how much more damage the
Defendants’ unnecessary delays have caused and are still causing. These unnecessary delays
could result in a partial cure or irreparable damage. Of course this could all have been avoided
had it not been for the Defendants delays. Cirrhosis of the liver is now a very real possibility.
Plaintiff Van Wagner's quality and quantity of life has already been jeopardized.

According to Plaintiff VanWagner's research, the first step to curing Hepatitis C is to
vaccinate for Hepatitis A and B, which requires medical shots (vaccinations). This vaccination
process takes seven (7) months and is a pre-requisite requirement before taking Hepatitis C
medications. Even though the Hepatitis A and B is not expensive, the Defendants refuse to
administer the Hepatitis A and B vaccination, and use the Hepatitis A and B vaccination as
another way of prolonging and further delaying the expense of curing Plaintiff Van Wagner's
Hepatitis C. It should also be noted that Doctor Tony Castillo, who is assigned to Unit 42 at the
Mississippi State Penitentiary, Parchman, MS, stated that the medication to treat Hepatitis C was
expensive and MDOC refused to pay for the Plaintiff to receive expensive medications.

The Defendants have withheld life saving medication from the Plaintiff because of the costs
of the medication, and this could have already taken years off of the Plaintiff's life. Plaintiff
VanWagner submits that it is unimaginable to allow the Defendants to continue denying him the
life saving medication for Hepatitis C. See, Abu-Jumal v. Wetzel (Slip Copy 2017); Estelle v.
Gamble, 429 U.S. 97, 104-05.

III.
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Plaintiff VanWagner submits the Defendants are intentionally retaliating against him as a
result of this civil action. In support of this claim, Plaintiff VanWagner submits the following:

Plaintiff VanWagner has suffered from chronic back pain as a result of injuries to his neck
and back. Plaintiff complained of this problem to the Unit 42 physicians and they provided
Plaintiff with a "bottom rack profile" which means he must be housed on a bottom bed and not a
top bed. Plaintiff VanWagner was indeed housed on a bottom bed. Recently Plaintiff
Van Wagner was removed from his bed and placed on a top bed, for no apparent reason.

It should be noted that Nurse Practitioner Angela Brown, who works at Unit 42, MSP,
advised Plaintiff VanWagner to cease from doing sit-ups, push-ups or anything that would cause
the Plaintiffs liver to press against his ribcage because it would inflame Plaintiffs liver and
cause severe pain. Having to crawl up on a top bed is causing Plaintiff VanWagner considerable
pain and causing his liver to become inflamed as well, therefore a bottom-rack profile was
necessary for his health and well-being.

After Plaintiff VanWagner was removed from his bottom rack, he complained about it to
numerous officials, and also wrote letters to the department heads, all to no avail. The Court
may find it interesting that on February 13, 2019, Magistrate Judge Percy ordered process and
service upon the MDOC Defendants, and on that same day Plaintiff was ordered to move to the
top bed. It seems very strange that Plaintiff was ordered on a top rack the same day the
Defendants were served this civil action. Plaintiff VanWagner suggests this was retaliatory
action on behalf of the Defendants. Being placed on a top rack has been causing Plaintiff
VanWagner severe hardship and pain, and still is to this day. It should also be noted that several
bottom beds have come open in recent weeks, yet Plaintiff was denied each time he made a

request. It should also be noted that Plaintiff VanWagner did in fact utilize the State
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Administrative Remedy to address his problem about the top rack. As of this date, nothing
whatsoever has been heard from the Administrative Remedy paperwork he filed. (A copy of
ARP is attached hereto as an exhibit)

IV.

Plaintiff VanWagner is requesting leave of this Honorable Court to Amend his former
complaint with the above and herein facts and circumstances. Plaintiff also moves this
Honorable Court to grant leave to amend the damages requested previously, and to add MDOC
as Defendants in this cause and matter. Plaintiff would now request additional relief in
Compensatory damages in the amount of six-teen million dollars ($16,000,000); That the Court,
at the conclusion of the trial, to grant Nominal damages in the amount to be decided by this
Court, as well as Punitive damages to be granted as well.

Plaintiff VanWagner would further request that no retaliatory action be taken against him as
a result of filing this civil action. In support of this request, Plaintiff VanWagner submits the
following, to-wit:

That pursuant to Federal Rules of Civil Procedure, Rule 15(a), "leave to amend a complaint
shall be freely given when justice so requires. See, United States v. Rinscos, 76 F.3d 93, 94
(Sth Cir. 1996); Sherman y. Hallbauer, 455 F.2d 1236, 1242 (5th Cir. 1972); McGrader v.
Phelps, 608 F.2d 1023, 1025 (5th Cir. 1979). Although not automatic the decision to grant or
deny such leave is within the sound discretion of the district court. See, Bloom v. Bexar Texas,
130 F.3d 722, 727 (Sth Cir. 1997); Halbert v. City of Sherman, 33 F.3d 526, 529 (5th Cir.
1994). The policy of the Federal rules is to permit liberal amendments to facilitate determination
of claims on the merits and to prevent litigation from becoming a technical exercise in the fine

points of pleading. See, Dussouy v. Gulf Coast Inn. Corp., 660 F.2d 594, 598 (5th Cir. 1981).
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With this policy in mind the district court "may" consider a variety of factors when deciding
whether to grant leave to amend, including undue delay, bad faith, or dilatory motive on the part
of the movant, repeated failure to cure deficiencies by amendments previously allowed, under
prejudice to the opposing party by virtue of allowance of the amendment and futility of the
amendment. See, Dussouy, 660 F.2d at 598. Unless there is a substantial reason to deny leave
to amend, the discretion of the district court is not broad enough to permit denial. See, Dussouy,
660 F.2d at 598.
CONCLUSION

WHEREFORE, PREMISES CONSIDERED, Plaintiff VanWagner moves this Honorable
Court to freely grant leave to amend the complaint in this civil action with the above stated facts
and circumstances, and the damages as stated herein. Plaintiff VanWagner would request such
other relief as deemed appropriate in this cause and matter.

THIS, the —_—__s day of March, 2019.

Respectfully submitted,

 

Jerry VanWagner
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CERTIFICATE OF SERVICE

THIS IS TO CERTIFY, that I, Jerry Van VanWagner, pro se, have this day cause to mail

the attached pleadings/documents, postage prepaid by United States Postal Service, First-Class

Postage, to the below named individuals:

Honorable David Crews, Clerk
United States District Court
301 W. Commerce Street #13
Aberdeen, MS 39730

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SO CERTIFIED, this the le day of March, 2019.

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#161751 Unit 30-C

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Case: 4:18-cv-00150-GHD-RP Doc #: 24 Filed: 03/12/19 34 of 37 PagelD #: 128

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